                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION
                                 No. 5:19-CR-00063-D


UNITED STATES OF AMERICA                      )
                                              )
                                              )
                   v.                         )               ORDER
                                              )
GIVONNI MARCIES SURLES,                       )
                                              )
                            Defendant.        )


       On April 14, 2021, Givonni :M:arcies Surles ("Surles" or "defendant'') moved for

compassionate release under the First Step Act ("First Step Act''), Pub. L. No. 115-391, § 603(b),

132 Stat. 5194, 5238-41 (2018) (codified as amended at 18 U.S.C. § 3582) [D.E. 66]. On April 28,

2021, the United States responded in opposition [D.E. 68]. On June 10, 2021, Surles replied [D.E.

72]. As explained below, the· court d~es Surles's motion.

                                                  I.

       On February 11, 2020, pursuant to a written plea agreement, Surles pleaded guilty to

possessing a firearm as a convicted felon. See [D.E. 1, 44, 46]. On August 19, 2020, the court held

a sentencing hearing.and adopted the facts set forth in the Presentence Investigation Report ("PSR").

See [D.E. 61]; _Fed. R. Crim. P. 32(i)(3){A)-{B). The court calculated Surles's total offense level

to be 27, his criminal history category to be IV, and his advisory guideline range to be 100 to 120

months' imprisonment. See PSR [D.E. 56] fl 71-72. After granting the government's motion for

a downward departure-and thoroughly considering the arguments of counsel and all relevant factors

under 18 U.S.C. § 3553(a), the court sentenced Surles to 60 months' imprisonment. See [D.E. 62]

2. Surles did not appeal.



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         OnApril 14, 2021, Surlesmovedforcompassionaterelease. See [D.E. 66]. The government

 opposes the motion. See [D.E. 68].

         On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

 5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

 motion for compassionate release. Under the First Step Act, a sentencing court may modify a

 sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

 defendant after the defendant has fully exhausted all administrative rights to appeal a failure of the

 [BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

 arequestbythewardenofthedefendant'sfacility,whicheverisearlier." 18U.S.C.§3582(c)(l)(A).

        After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

 "extraordinary and compelling reasons" for a sentence reduction, or (2)be at least 70 years old, have

 served at least 30 years in prison, and have the Director of the BOP determine ''that the defendant

 is not a danger to the safety of any other person or the community." Id. Iri' deciding to reduce a

. sentence under section 3582(c)(l)(A), a court must consult the sentencing factors in 18 U.S.C. §

 3553(a) and must ensure that a sentence reduction is "consistent with applicable policy statements

 issued by the" United States Sentencing Commission (the "Commission"). Id.

        The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

 parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

 safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

 application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

 medical conditions of the defendant, (B) advanced age of the defendant ·when coupled with "a

 serious deterioration in physical and mental health" due to aging and having served at least 10 years

 or 75% ofhis or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

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     extraordinary and compelling reason. U.S.S.G. § 1B1.13 cmt. n.1. 1 Application note 2 states that


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                Application note 1 to U.S.S.G. § 1B1.13 states in full:

            1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
                    requirements of subdivision (2), extraordinary and compelling reasons exist
                    under any of the circunistances set forth below:

                    (A) Medical Condition of the Defendant.-

                            (i) The defendant is suffering from a terminal illness (i.e., a serious and
                                advanced illness with an end oflife trajectory). A specific prognosis
                                of life expectancy (i.e., a probability of death within a specific time
                                period) is not required. Examples include metastatic solid-tumor
                                cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                                disease, and advanced dementia.

                            (ii) The defendant is-

                                  (1) suffering from a serious physical or medical condition,

                                  (II) suffering from a serious functional or cognitive impairment,
                                       or
                                                                           /

                                  (Ill) experiencing deteriorating physical or mental health because
                                        of the aging process,

                                 that substantially diminishes the ability of the defendant to
                                 provide self-care within the environment of a correctional facility
                                 and from which he or she is not expected to recover.

                      (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                           is experiencing a serious deterioration in physical or mental health
                           because ofthe aging process; and (iii) has served at least 10 years or 75
                           percent of his or her term of imprisonment, whichever is less.

                      (C) Family Circumstances.-

                          (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                              child or minor children.

                          (ii) The incapacitation of the defendant's spouse or registered partner
                              when the defendant would be the only available caregiver for the
                              spouse or registered partner.

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 "an extraordinary and compelling reason need not have been unforeseen at the time of sentencing

 in order to warrant a reduction in the term.of imprisonment." U.S.S.G. § lBl.13 cmt. n.2. Thus,

 ''the fact that an extraordinary and compelling reason reasonably could have been known or

 anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "Pursuant to 28 U.S.G. § 994(t), rehabilitation of the

 defendant is not, by itself,   ~   extraordinary and compelling reason for purposes of this policy

 statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission~ lacked a quorum since Congress enacted the First Step Act and has not

 updated U.S.S.G. § lBl.13 to account for the First Step Act. Accordingly, section lBl.13 does not

 provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

 3582(c)(l)(A). See,~ United States v. High. 997 F.3d 181, 186 (4th Cir. 2021); United States

 v. Kibble, 992F.3d326, 330-31 (4th Cir. 2021),cert. denied, No. 21-5624,2021 WL4733616 (U.S.

 Oct. 12, 2021); United States v. McCoy. 981 F.3d 271, 280-84 (4th Cir. 2020). Rather, ''U.S.S.G.

 § lBl .13 only applies when a request for compassionate release is made upon motion ofthe Director

 ofthe [BOP]." Kibble, 992 F.3d at}30-31 (cleaned up). Nevertheless, section lBl.13 provides

informative policy when assessing an inmate's motion, but a court independently determines whether

 "extraordinary and compelling reasons" warrant a sentence reduction under 18 U.S.C. §

3582(c)(l)(A)(i). See High, 997 F.3d at 186; McCoy, 981 F.3d at 283-,-84. In doing so, the court

consultsnotonlyU.S.S.G. § lBl.13, butalsothetextof18 U.S.C. § 3582(c)(l)(A) and the section


                (D) Other Reasons.-As determined by the Director of the Bureau of
                     Prisons, there exists in the defendant's case an extraordinary and
                     compelling reason other .than, or in .combination with, the reasons
                     described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1 (emphasis omitted).

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3SS3(a) factors. See,~ McCoy. 981 F.3d at 280-84; United States v. Jones, 980 F.3d 1098,

1101--03 (6th Cir. 2020); United States v. ~ 980 F.3d 1178, 1180-81 (7th Cir. 2020); United

States v. Ruffin, 978 F.3d 1000, 1007--09 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228,

237-38(2dCir.2020);UnitedStatesv.Clark,No.1:09cr336-1,2020WL1874140,at*2(M.D.N.C.

Apr. 15, 2020) (unpublished).

        Surles seeks compassionate release. See [D.E. 66]. In his motion, Surles contended he

exhausted hi$ administrative remedies before filing the motion. See id. at 2. The government

responded that Surles failed to exhaust his administrative remedies and sought dismissal of Surles' s

motion on that ground See [D.E. 68] 18-19; [D.E. 68-2]. Surles moved for, and the court granted,

an extension oftime in order for Surles to pursue admini~ative relief. See [D.E. 70-71 ]. On June

10, 2021, Surles replied to the government's response in opposition to Surles's motion for

compassionate release and asserted that he petitioned the warden at FCI Beckley for compassionate

release, and the warden did not respond within 30 days. See [D.E. 72] 1; [D.E. 72-1] (letter seeking

administrative relief). Accordingly, Surles has exhausted his adminifm'ative remedies, and the court

addresses his motion on the merits. See 18 U.S.C. § 3582(c)(l)(A).

       Surles seeks compassionate release pursuant to section 3582(c)(l)(A). In support, Surles

cites the COVID-19 pandemic, his health condition (pulmonary sarcoidosis), his former smoking

habit, and his supportive family. See [D.E. 66]. The ''medical condition of the defendant'' policy

statement requires that the defendant be "suffering from a serious physical or medical condition ..

. that substantially diminishes the ability ofthe defendant to provide self-care within the environment

of a correctional facility and from which he or she is not expected to recover." U.S.S.G. § lBl.13

cmt. n. l(A)(ii). Surles argues that his sarcoidosis and the health implications ofhis former smoking

habit make him more likely to contract and die from COVID-19. See [D.E. 66] 7-10. However,

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Surles's medical records indicate he told the BOP he was a nonsmoker. See [D.E. 68-3] 3 ("Tobacco

Usage: Denied"). And the government contends that sarcoidosis is not a disease that places Surles

at a heightened risk of serious infection ifhe contracts COVID-19. See [D.E. 68] 21-22. The court

assumes without deciding that Surles has a form.er smoking habit and that sarcoidosis may put Surles
                                                                   (

at a higher risk of serious infection should he contract COVID-19. However, Surles has already

contracted and recovered from COVID-19, thus obtaining natural antibodies. See [D.E. 66] 2-3.

Furthermore, Surles is fully vaccinated against COVID-19. See [D.E. 68-1, 74-1] ;2 cf. United States

v. Broadfielg, S F.4th 801, 803 (7th Cir. 2021 )("[F]or the vast majority ofprisoners, the availability

of a vaccine makes it impossible to conclude that the risk of COVID-19 is an 'extraordinary and

compelling' reason for immediate release."). Accordingly, reducing Surles' s sentence is inconsistent

with application note l(A). See 18 U.S.C. § 3S82(c)(l)(A).

       As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic and Surles's sarcoidosis and form.er smoking habit are extraordinary and

compelling reasons under section 3S82(c)(l)(A). Cf. United States v. Raia, 954 F.3d 594, 597 (3d

Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that it may spread to

a particular prison alone cannot independently justify compassionate release, especially considering

BOP's statutory role, and its extensive and professional efforts to curtail the virus's spread."). At

the same time, the wide availability of COVID-19 vaccines greatly diminishes the weight of that

assumption. Cf. Broadfielg, SF.4th at 803. Regardless, the section 3SS3(a) factors counsel against

reducing Surles's sentence. See High. 997 F.3d at 187-91; Kibble, 992 F.3d at 331-32; United

States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140, at *3-8.



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           The court grants the government's motion to seal Docket Entry 74. See [D.E. 75].

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        Surles is 3S years old and is incarcerated for possessing a firearm as a convicted felon. See

PSR ft 1-11. When law enforcement discovered the stolen firearm while executing a search warrant

at Surles's residence, law enforcement also found 4S.98 grams of cocaine, 284.4S grams of

marijuana, and 1SO dosage units of Alprazolam. ~ee id. ft 7, 61. Surles claimed responsibility for

the drugs. See id. ,r 7. Surles is a recidivist wi~ convictions for possession of cocaine, selling

cocaine (two counts), possession of marijuana (four counts), possession of drug paraphernalia (two

counts), possession with intent to sell marijuana, resisting a public officer, and attempted trafficking

of opiates. See id. ft 16--31. Surles has not performed well on supervision, including.violating

conditions of his pretrial release before his arraignment in this case. See id. ft 21, 23, 28, 31; [D.E.

36].

        The court also has considered Surles' s rehabilitation efforts,3 poten,tial exposure to COVID-

19, medical conditions, and release plan. Cf. Pe,p_per v. United States, S62 U.S. 476, 480-81 (2011 );
                                                                                           '

High, 997 F.3d at 187-91; United States v. McDonald, 986 F.3d 402,412 (4th Cir. 2021); United

States v. Martin, 916 F.3d 389, 398 (4th Cir. 2019). The court also recognizes Surles has a

supportive family, especially his mother and significant other. See [D.E. 66] 4--6. Having

considered the entire record, the steps that the BOP has taken to address COVID-19 and to treat

Surles, the section 3SS3(a) factors, Surles's arguments, the government's persuasive response, and

the need to punish Surles for his serious criminal behavior, to incapacitate Surles, to promote respect

for the law, to deter others, and to protect society, the court denies Surles' s motion for compassionate

release. See,~ Chavez-Meza v. United States, 138 S. Ct. 19S9, 1966-68 (2018); Ryffin, 978 F.3d


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         Surles does not state whether he has taken any vocational or education training courses
while incarcerated. See [D.E. 66]. However, the court recognizes and takes into account that it
sentenced Surles during the COVID-19 pandemic and such opportunities currently may be limited
or unavailable.

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at 1008-09; Chambliss, 948 F.3d at 693-94; United States v. Hill, No. 4:13-CR-28-BR, 2020 WL

205515, at *2 (E.D.N.C. Jan. 13, 2020) (unpublished), aff'g, 809 F. App'x 161 (4th Cir. 2020) (per

curiam) (unpublished).

       As for Surles' s request for home confinement, see [D.E. 66] 10-11, Surles seeks relief under

the CARES Act. The CARES Act does not provide this court with the authority to grant home

confinement. See United States v. Brummett No. 20-5626, 2020 WL 5525871, at *2 (6th Cir. Aug.

19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely with the

Attorney General and theBOP.");United Statesv. McCoy. No. 3:19-CR-35-KDB-DCK, 2020 WL

5535020, at *1-2 (W.D.N.C. Sept. 15, 2020) (unpublished); United States v. Gray, No.

4: 12-CR-54-FL-1, 2020 WL 1943476, at*3 (E.D.N.C. Apr. 22, 2020) (unpublished). To the ex.tent

Surles requests that the court merely recommend home confinement to the BOP, the court declines.

Thus, the court dismisses Surles' s request for home confinement.

                                                II.

       In sum, the court GRANTS the government's motion to seal [D.E. 75], DENIES defendant's

motion for compassionate release [D.E. 66], and DISMISSES defendant's request for home

confinement.

      . SO ORDERED. This Ji. day of October, 2021.



                                                          lsc.DEVERm
                                                          United States District Judge




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